UNITED STATES OF AMERICA,

Plaintiff,

F|LED _|N OPEN COURT

UNITED STATES DISTRICT COURT CLERK"“¢;_ 3_ D|STR¢CT COURT

MIDDLE DISTRICT OF FLORIDA
JACKSONVILLE DIVISION

l:l

GOvernment

M|DDLE D|STR|CT OF FLOR|DA
JACKSONV|LLE, FLOR|DA

Case NO. 3:16-cr-151-J~34MCR

E Evidentiary

 

 

 

 

 

 

v. E Trial
Other
JOHN R. BIGGERSTAFF
Defendant [:|
Exhibit Date Date
Number Identif`led Admitted Witness Descn'ption of Exhibit
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